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             EXHIBIT 6
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     Attorneys for Plaintiffs and the Putative Class
10

11                                  UNITED STATES DISTRICT COURT

12                                 NORTHERN DISTRICT OF CALIFORNIA
13    RJ, as the representative of her beneficiary     Case No. 5:20-cv-02255-EJD
      son, SJ; LW as the representative of her
14    beneficiary spouse, MW; and, DS, an              PLAINTIFF RJ’S RESPONSE TO
      individual,
15                                                     DEFENDANT CIGNA HEALTH AND LIFE
                     Plaintiffs,                       INSURANCE COMPANY’S FIRST SET OF
16                                                     REQUESTS FOR PRODUCTION OF
             v.                                        DOCUMENTS
17
      Cigna Health and Life Insurance
18    Company and MultiPlan, Inc.,
19                   Defendants.
20

21          RESPONDING PARTY:              Plaintiff RJ
22          PROPOUNDING PARTY:             Defendant CIGNA HEALTH & LIFE INSURANCE CO.
23          SET NUMBER:                    ONE
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                  PLAINTIFF RJ’S RESPONSES TO CIGNA HEALTH & LIFE INSURANCE CO.
              REQUEST FOR PRODUCTION OF DOCUMENTS, SET ONE CASE NO. 5:20-cv-02255-EJD
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1    TO DEFENDANT CIGNA HEALTH & LIFE INSURANCE CO. AND ITS ATTORNEY OF
2    RECORD:
3           Plaintiff RJ responds as follows:
4                                      INTRODUCTORY COMMENTS
5           Respondent’s answers are given without prejudice to producing at the time of trial
6    subsequently discovered information or information omitted by said responses due to good faith
7    oversight.
8           In setting forth these responses, Plaintiff does not waive the attorney/client, work product, or
9    other privilege or immunity from disclosure which might attach to information called for in, or
10   responsive to, any request. In responding to any and all portions of any request, Plaintiff does not
11   concede the relevance or materiality of the request or the subject matter to which the request refers.
12          These responses are submitted by Plaintiff subject to, and without in any way waiving or
13   intending to waive, but on the contrary, intending to reserve and reserving:
14          1      All questions as to competency, materiality, privilege and admissibility as evidence for
15   any purpose of any of the documents referred to or responses given, or the subject matter thereof, and
16   any subsequent proceeding in, or trial of, this action or any other proceedings;
17          2        The right to object to other discovery procedures involving or relating to the subject
18   matter of the requests herein responded to, including any request for production of documents
19   specifically identified herein; and
20          3      The right at any time to revise, correct, add to, or clarify any of the responses set forth
21   herein, or documents produced or referred to herein.
22                                         GENERAL OBJECTIONS
23          1      Plaintiff RJ (“Plaintiff”) submits his responses subject to all objections ordinarily
24   available if such statements are offered in court. All such objections are hereby expressly reserved and
25   may be interposed at the time of trial or at any other time. No response to any Request is intended to
26   be, nor shall any response be construed as, a waiver by Plaintiff of all or any part of any objection to
27   any Request.
28
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                    PLAINTIFF RJ’S RESPONSES TO CIGNA HEALTH & LIFE INSURANCE CO.
                REQUEST FOR PRODUCTION OF DOCUMENTS, SET ONE CASE NO. 5:20-cv-02255-EJD
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1           2      Plaintiff’s research, discovery, and preparation for trial in this matter are presently
2    ongoing and are not yet complete. This response reflects only the information which is presently
3    known to Plaintiff based upon his knowledge to date. Plaintiff anticipates that his continuing discovery
4    and investigation may reveal information not presently known to Plaintiff, or information whose
5    significance is not presently known to him, upon which Plaintiff may rely at trial. Accordingly,
6    Plaintiff’s responses to these Interrogatories is made without prejudice to Plaintiff’s right to produce
7    additional information at a later date and to introduce such information at the time of trial.
8           3      Plaintiff objects to each Interrogatory to the extent that it seeks information protected
9    from disclosure by the attorney-client privilege and/or the attorney work product doctrine and/or any
10   other privilege or immunity. The inadvertent production of such information shall neither constitute
11   waiver of any privilege nor a waiver of any rights. Plaintiff may have to object to the use of any of the
12   information in any subsequent pretrial proceedings or at trial.
13          4      Plaintiff objects to each Interrogatory to the extent that it is overbroad and that it seeks
14   the production of information which is neither relevant to the subject matter of this litigation nor
15   reasonably calculated to lead to the discovery of admissible evidence.
16          5      Plaintiff objects to each Interrogatory to the extent that it is vague and ambiguous and/or
17   creates confusion given the issues involved in this litigation.
18          6      Plaintiff objects to each Interrogatory to the extent that it is burdensome and oppressive
19   and that compliance with specific requests would be unreasonably difficult and/or expensive.
20          7      Plaintiff objects to the entire set of Interrogatories to the extent that it seeks information
21   equally available to the propounding party.
22          8      Subject to these general objections and the specific objections below, Plaintiff will
23   provide responses indicated below in accordance with its obligations under the Federal Code of Civil
24   Procedure.
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                    PLAINTIFF RJ’S RESPONSES TO CIGNA HEALTH & LIFE INSURANCE CO.
                REQUEST FOR PRODUCTION OF DOCUMENTS, SET ONE CASE NO. 5:20-cv-02255-EJD
            Case 5:20-cv-02255-EJD Document 143-2 Filed 01/12/23 Page 5 of 22




1    the extent it is overbroad and to the extent that it seeks the production of information which is
2    neither relevant to the subject matter of this litigation nor reasonably calculated to lead to the
3    discovery of admissible evidence. Plaintiff further objects to this Request to the extent it is
4    duplicative of previous requests.
5           Subject to the foregoing and the above incorporated General Objections and without
6    waiving same, Plaintiff responds:
7           Attached are the following responsive, non-privileged documents in Plaintiff’s possession
8    custody or control:
9           PRJ_000005 – PRJ_000009               Correspondence from Defendants
10          PRJ_000010 – PRJ_000027               Correspondence from Defendants
11          PRJ_000028 – PRJ_000033               Correspondence from Defendant
12          PRJ_000034 – PRJ_000042               Appeals submitted to Defendant
13          PRJ_000043 – PRJ_000069               Correspondence from Defendants
14          PRJ_000070                            Appeal submitted to Defendant
15          PRJ_000071 – PRJ_000081               Electronic PRAs
16          PRJ_000082 – PRJ_000083               Electronic PRAs
17          PRJ_000084 – PRJ_000086               Contemporary notes of telephone conversations
18          PRJ_000088 – PRJ_000095               Correspondence with Defendant
19          PRJ_000231 – PRJ_000288               EOBs Received by Plaintiff
20          Plaintiff will produce all responsive, non-privileged documents in Plaintiff’s possession,
21   custody or control.
22          Discovery is ongoing, and Plaintiff reserves the right to supplement this response as new
23   and relevant information becomes available and known.
24

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26   REQUEST NO. 8
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                 PLAINTIFF RJ’S RESPONSES TO CIGNA HEALTH & LIFE INSURANCE CO.
             REQUEST FOR PRODUCTION OF DOCUMENTS, SET ONE CASE NO. 5:20-cv-02255-EJD
            Case 5:20-cv-02255-EJD Document 143-2 Filed 01/12/23 Page 6 of 22




1           All Documents related to Communications between Plaintiff, on one hand, and any third
2    party, on the other hand, regarding MultiPlan, the Cigna Plan, or Plaintiff’s out-of-network plan
3    benefits.
4    RESPONSE TO REQUEST NO. 8:
5           Plaintiff objects that the Request seeks information from third parties and information not
6    within Plaintiff’s possession, custody, control, or personal knowledge. Plaintiff objects that the
7    Request is unduly burdensome in that it seeks information already known to and in the possession
8    of the requesting party. Plaintiff further objects to this Request to the extent it is overbroad and
9    to the extent that it seeks the production of information which is neither relevant to the subject
10   matter of this litigation nor reasonably calculated to lead to the discovery of admissible evidence.
11   Plaintiff further objects to this Request to the extent it is duplicative of previous requests.
12          Subject to the foregoing and the above incorporated General Objections and without
13   waiving same, Plaintiff responds:
14          Attached are the following responsive, non-privileged documents in Plaintiff’s possession
15   custody or control:
16          PRJ_000005 – PRJ_000009               Correspondence from Defendants
17          PRJ_000010 – PRJ_000027               Correspondence from Defendants
18          PRJ_000028 – PRJ_000033               Correspondence from Defendant
19          PRJ_000034 – PRJ_000042               Appeals submitted to Defendant
20          PRJ_000043 – PRJ_000069               Correspondence from Defendants
21          PRJ_000070                            Appeal submitted to Defendant
22          PRJ_000071 – PRJ_000081               Electronic PRAs
23          PRJ_000082 – PRJ_000083               Electronic PRAs
24          PRJ_000084 – PRJ_000086               Contemporary notes of telephone conversations
25          PRJ_000088 – PRJ_000095               Correspondence with Defendant
26          PRJ_000231 – PRJ_000288               EOBs Received by Plaintiff
27          Plaintiff will produce all responsive, non-privileged documents in Plaintiff’s possession,
28   custody or control.
                                                13
                  PLAINTIFF RJ’S RESPONSES TO CIGNA HEALTH & LIFE INSURANCE CO.
              REQUEST FOR PRODUCTION OF DOCUMENTS, SET ONE CASE NO. 5:20-cv-02255-EJD
            Case 5:20-cv-02255-EJD Document 143-2 Filed 01/12/23 Page 7 of 22




1           Discovery is ongoing, and Plaintiff reserves the right to supplement this response as new
2    and relevant information becomes available and known.
3    REQUEST NO. 9
4           All Documents related to Communications between Plaintiff, on one hand, and any Provider
5    other than Summit Estate that Plaintiff considered seeking treatment from or did receive treatment for
6    Plaintiff’s substance abuse issues.
7    RESPONSE TO REQUEST NO. 9:
8           Plaintiff objects that the Request seeks information from third parties and information not
9    within Plaintiff’s possession, custody, control, or personal knowledge. Plaintiff objects that the
10   Request is unduly burdensome in that it seeks information already known to and in the possession
11   of the requesting party. Plaintiff further objects to this Request to the extent it is overbroad and
12   to the extent that it seeks the production of information which is neither relevant to the subject
13   matter of this litigation nor reasonably calculated to lead to the discovery of admissible evidence.
14   Plaintiff further objects to this Request to the extent it is duplicative of previous requests.
15          Subject to the foregoing and without waiving same, Plaintiff responds:
16          None.
17          Plaintiff will produce all responsive, non-privileged documents in Plaintiff’s possession,
18   custody or control.
19          Discovery is ongoing, and Plaintiff reserves the right to supplement his response as new
20   and relevant information becomes available and known to him.
21   REQUEST NO. 10
22          All versions of Plaintiff’s Cigna Plans and any other health benefit plans that provided either
23   primary or secondary coverage to Plaintiff for behavioral health treatment.
24   RESPONSE TO REQUEST NO. 10:
25          Plaintiff objects that the Request seeks information from third parties and information not
26   within Plaintiff’s possession, custody, control, or personal knowledge. Plaintiff objects that the
27   Request is unduly burdensome in that it seeks information already known to and in the possession
28   of the requesting party. Plaintiff further objects to this Request to the extent it is overbroad and
                                                14
                  PLAINTIFF RJ’S RESPONSES TO CIGNA HEALTH & LIFE INSURANCE CO.
              REQUEST FOR PRODUCTION OF DOCUMENTS, SET ONE CASE NO. 5:20-cv-02255-EJD
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1           PRJ_000028 – PRJ_000033              Correspondence from Defendant
2           PRJ_000034 – PRJ_000042              Appeals submitted to Defendant
3           PRJ_000043 – PRJ_000069              Correspondence from Defendants
4           PRJ_000070                           Appeal submitted to Defendant
5           PRJ_000071 – PRJ_000081              Electronic PRAs
6           PRJ_000082 – PRJ_000083              Electronic PRAs
7           PRJ_000084 – PRJ_000086              Contemporary notes of telephone conversations
8           PRJ_000087                           Insurance card
9           PRJ_000088 – PRJ_000095              Correspondence with Defendant
10          PRJ_000096 – PRJ_000157              Intuit SPD
11          PRJ_000158 – PRJ_000230              Intuit Certificate of Insurance
12          PRJ_000231 – PRJ_000288              EOBs Received by Plaintiff
13          Plaintiff will produce all responsive, non-privileged documents in Plaintiff’s possession,
14   custody or control.
15          Discovery is ongoing, and Plaintiff reserves the right to supplement this response as new
16   and relevant information becomes available and known.
17   REQUEST NO. 12:
18          All Documents and Communications relating to Plaintiff’s allegations in the Complaint,
19   including the allegations that:
20          a. “Cigna was required to pay for Plaintiffs’ treatment based on the usual,
21          customary, and reasonable rate” as alleged in paragraph 64 of the
22          Complaint.
23          b. “[T]he Plaintiffs UCR rate is equal to 100% of that providers’ billed
24          charges” as alleged in paragraph 164 of the Complaint.
25          c. “Each of the claims at issue in this litigation was underpaid” as alleged
26          in paragraph 13 of the Complaint.
27          d. “Cigna and MultiPlan created, developed, managed, and administered
28          the scheme to underpay” Plaintiffs as alleged in paragraph 11 of the
                                               16
                 PLAINTIFF RJ’S RESPONSES TO CIGNA HEALTH & LIFE INSURANCE CO.
             REQUEST FOR PRODUCTION OF DOCUMENTS, SET ONE CASE NO. 5:20-cv-02255-EJD
            Case 5:20-cv-02255-EJD Document 143-2 Filed 01/12/23 Page 9 of 22




1           Complaint.
2           a. Cigna’s “payments were improper underpayments” as alleged in page
3           72 of the Complaint.
4           b. “Cigna profits by fraudulently retaining money that should be paid for
5           IOP treatment” and “MultiPlan profits when Cigna pays it for
6           successfully implementing Viant’s fraudulent methodology” as alleged
7           in paragraphs 142-146 of the Complaint.
8           c. “Cigna and MultiPlan then engaged in financial transactions with those
9           proceeds, [and] their actions constituted money-laundering” as alleged
10          in paragraph 18 of the Complaint.
11   RESPONSE TO REQUEST NO. 12:
12          Plaintiff objects that the Request seeks information from third parties and information not
13   within Plaintiff’s possession, custody, control, or personal knowledge. Plaintiff objects that the
14   Request is unduly burdensome in that it seeks information already known to and in the possession
15   of the requesting party. Plaintiff further objects to this Request to the extent it is overbroad and
16   to the extent that it seeks the production of information which is neither relevant to the subject
17   matter of this litigation nor reasonably calculated to lead to the discovery of admissible evidence.
18   Plaintiff further objects to this Request to the extent it is duplicative of previous requests.
19          Subject to the foregoing and the above incorporated General Objections and without
20   waiving same, Plaintiff responds:
21          Attached are the following responsive, non-privileged documents in Plaintiff’s possession
22   custody or control:
23          PRJ_000001 – PRJ_000004               Invoice from Summit Estate
24          PRJ_000005 – PRJ_000009               Correspondence from Defendants
25          PRJ_000010 – PRJ_000027               Correspondence from Defendants
26          PRJ_000028 – PRJ_000033               Correspondence from Defendant
27          PRJ_000034 – PRJ_000042               Appeals submitted to Defendant
28          PRJ_000043 – PRJ_000069               Correspondence from Defendants
                                                17
                  PLAINTIFF RJ’S RESPONSES TO CIGNA HEALTH & LIFE INSURANCE CO.
              REQUEST FOR PRODUCTION OF DOCUMENTS, SET ONE CASE NO. 5:20-cv-02255-EJD
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1           PRJ_000070                            Appeal submitted to Defendant
2           PRJ_000071 – PRJ_000081               Electronic PRAs
3           PRJ_000082 – PRJ_000083               Electronic PRAs
4           PRJ_000084 – PRJ_000086               Contemporary notes of telephone conversations
5           PRJ_000087                            Insurance card
6           PRJ_000088 – PRJ_000095               Correspondence with Defendant
7           PRJ_000096 – PRJ_000157               Intuit SPD
8           PRJ_000158 – PRJ_000230               Intuit Certificate of Insurance
9           PRJ_000231 – PRJ_000288               EOBs Received by Plaintiff
10          Plaintiff will produce all responsive, non-privileged documents in Plaintiff’s possession,
11   custody or control.
12          Discovery is ongoing, and Plaintiff reserves the right to supplement this response as new
13   and relevant information becomes available and known.
14   REQUEST NO. 13
15          All Documents and Communications relating to Plaintiff’s use or access of the FAIR Health
16   database or FAIR Health website (referenced in paragraph 72 of the Complaint).
17   RESPONSE TO REQUEST NO. 13:
18          Plaintiff objects that the Request is unduly burdensome in that it seeks information already
19   known to and in the possession of the requesting party. Plaintiff further objects to this Request to
20   the extent it is overbroad and to the extent that it seeks the production of information which is
21   neither relevant to the subject matter of this litigation nor reasonably calculated to lead to the
22   discovery of admissible evidence. Plaintiff further objects to this Request to the extent it is
23   duplicative of previous requests.
24          Subject to the foregoing, the above General Objections, and without waiving same,
25   Plaintiff responds:
26          Plaintiff is not in possession, custody, or control of the requested material; to the extent
27   that this request seeks material that is freely available via FAIRHealth’s website, such material is
28   equally available to Defendant.
                                               18
                 PLAINTIFF RJ’S RESPONSES TO CIGNA HEALTH & LIFE INSURANCE CO.
             REQUEST FOR PRODUCTION OF DOCUMENTS, SET ONE CASE NO. 5:20-cv-02255-EJD
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1            Discovery is ongoing, and Plaintiff reserves the right to supplement this response as new
2    and relevant information becomes available and known.
3    REQUEST NO. 16
4             All Documents relating to any required expert disclosure, including, but not limited to:
5                     a. All Documents, facts and data considered by, relied upon by, or
6                             provided to any expert in connection with their retention by You or Your
7                             counsel to testify in this Action.
8                     b. The curriculum vitae of any expert witness whom Plaintiff intends to
9                             call to testify at trial, as well as a list of all publications authored in the
10                            previous 10 years, and a list of all other cases in which, during the
11                            previous 4 years, the witness testified as an expert at trial or by
12                            deposition.
13                    c. Any compensation paid to the expert.
14   RESPONSE TO REQUEST NO. 16:
15           Plaintiff objects that the Request is unduly burdensome in that it seeks information already
16   known to and in the possession of the requesting party. Plaintiff further objects to this Request to
17   the extent it is overbroad. Plaintiff further objects to this Request to the extent it is duplicative of
18   previous requests.
19           Subject to the foregoing and without waiving same, Plaintiff responds:
20           Plaintiff has not yet made any determinations as to testifying experts.
21           Plaintiff will produce all responsive, non-privileged documents in Plaintiff’s possession,
22   custody or control.
23           Discovery is ongoing, and Plaintiff reserves the right to supplement his response as new
24   and relevant information becomes available and known.
25

26   REQUEST NO. 17:
27           All Documents concerning or reflecting any Communications with any individual whom
28   Plaintiff intends to call to testify at trial.
                                                 21
                   PLAINTIFF RJ’S RESPONSES TO CIGNA HEALTH & LIFE INSURANCE CO.
               REQUEST FOR PRODUCTION OF DOCUMENTS, SET ONE CASE NO. 5:20-cv-02255-EJD
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1    RESPONSE TO REQUEST NO. 17:
2           Plaintiff objects that the Request is unduly burdensome in that it seeks information already
3    known to and in the possession of the requesting party. Plaintiff further objects to this Request to
4    the extent it is overbroad. Plaintiff further objects to this Request to the extent it is duplicative of
5    previous requests.
6           Subject to the foregoing and without waiving same, Plaintiff responds:
7           Plaintiff has not yet made any determinations as to testifying witnesses.
8           Plaintiff will produce all responsive, non-privileged documents in Plaintiff’s possession,
9    custody or control.
10          Discovery is ongoing, and Plaintiff reserves the right to supplement his response as new
11   and relevant information becomes available and known.
12   REQUEST NO. 18
13          To the extent not requested above, all Documents upon which Plaintiff intends to rely upon to
14   support Plaintiff’s allegations regarding the Claims, including any Documents identified in Plaintiff’s
15   Initial Disclosures and any Documents to be introduced as exhibits at trial.
16   RESPONSE TO REQUEST NO. 18:
17          Plaintiff objects that the Request is unduly burdensome in that it seeks information already
18   known to and in the possession of the requesting party. Plaintiff further objects to this Request to
19   the extent it is overbroad. Plaintiff further objects to this Request to the extent it is duplicative of
20   previous requests.
21          Subject to the foregoing and without waiving same, Plaintiff responds:
22          Plaintiff has not yet made any determinations as to trial exhibits.
23          Plaintiff will produce all responsive, non-privileged documents in Plaintiff’s possession,
24   custody or control.
25          Discovery is ongoing, and Plaintiff reserves the right to supplement his response as new
26   and relevant information becomes available and known.
27

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                  PLAINTIFF RJ’S RESPONSES TO CIGNA HEALTH & LIFE INSURANCE CO.
              REQUEST FOR PRODUCTION OF DOCUMENTS, SET ONE CASE NO. 5:20-cv-02255-EJD
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     Dated: September 13, 2021                  ARNALL GOLDEN GREGORY LLP
1

2                                               /S/
                                          By:         MATTHEW M. LAVIN
3                                                     AARON R. MODIANO
4
                                                Counsel For Plaintiffs and the Putative
5                                               Class

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               PLAINTIFF RJ’S RESPONSES TO CIGNA HEALTH & LIFE INSURANCE CO.
           REQUEST FOR PRODUCTION OF DOCUMENTS, SET ONE CASE NO. 5:20-cv-02255-EJD
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9
     Attorneys for Plaintiffs and the Putative Class
10

11                                  UNITED STATES DISTRICT COURT

12                                 NORTHERN DISTRICT OF CALIFORNIA
13    RJ, as the representative of her beneficiary     Case No. 5:20-cv-02255-EJD
      son, SJ; LW as the representative of her
14    beneficiary spouse, MW; and, DS, an              PLAINTIFF DS’S RESPONSE TO
      individual,
15                                                     DEFENDANT CIGNA HEALTH AND LIFE
                     Plaintiffs,                       INSURANCE COMPANY’S FIRST SET OF
16                                                     REQUESTS FOR PRODUCTION OF
             v.                                        DOCUMENTS
17
      Cigna Health and Life Insurance
18    Company and MultiPlan, Inc.,
19                   Defendants.
20

21          RESPONDING PARTY:              Plaintiff DS
22          PROPOUNDING PARTY:             Defendant CIGNA HEALTH & LIFE INSURANCE CO.
23          SET NUMBER:                    ONE
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                  PLAINTIFF DS’S RESPONSES TO CIGNA HEALTH & LIFE INSURANCE CO.
              REQUEST FOR PRODUCTION OF DOCUMENTS, SET ONE CASE NO. 5:20-cv-02255-EJD
           Case 5:20-cv-02255-EJD Document 143-2 Filed 01/12/23 Page 15 of 22




1    TO DEFENDANT CIGNA HEALTH & LIFE INSURANCE CO. AND ITS ATTORNEY OF
2    RECORD:
3           Plaintiff DS responds as follows:
4                                      INTRODUCTORY COMMENTS
5           Respondent’s answers are given without prejudice to producing at the time of trial
6    subsequently discovered information or information omitted by said responses due to good faith
7    oversight.
8           In setting forth these responses, Plaintiff does not waive the attorney/client, work product, or
9    other privilege or immunity from disclosure which might attach to information called for in, or
10   responsive to, any request. In responding to any and all portions of any request, Plaintiff does not
11   concede the relevance or materiality of the request or the subject matter to which the request refers.
12          These responses are submitted by Plaintiff subject to, and without in any way waiving or
13   intending to waive, but on the contrary, intending to reserve and reserving:
14          1      All questions as to competency, materiality, privilege and admissibility as evidence for
15   any purpose of any of the documents referred to or responses given, or the subject matter thereof, and
16   any subsequent proceeding in, or trial of, this action or any other proceedings;
17          2        The right to object to other discovery procedures involving or relating to the subject
18   matter of the requests herein responded to, including any request for production of documents
19   specifically identified herein; and
20          3      The right at any time to revise, correct, add to, or clarify any of the responses set forth
21   herein, or documents produced or referred to herein.
22                                         GENERAL OBJECTIONS
23          1      Plaintiff DS (“Plaintiff”) submits his responses subject to all objections ordinarily
24   available if such statements are offered in court. All such objections are hereby expressly reserved and
25   may be interposed at the time of trial or at any other time. No response to any Request is intended to
26   be, nor shall any response be construed as, a waiver by Plaintiff of all or any part of any objection to
27   any Request.
28
                                                   2
                    PLAINTIFF DS’S RESPONSES TO CIGNA HEALTH & LIFE INSURANCE CO.
                REQUEST FOR PRODUCTION OF DOCUMENTS, SET ONE CASE NO. 5:20-cv-02255-EJD
           Case 5:20-cv-02255-EJD Document 143-2 Filed 01/12/23 Page 16 of 22




1           2      Plaintiff’s research, discovery, and preparation for trial in this matter are presently
2    ongoing and are not yet complete. This response reflects only the information which is presently
3    known to Plaintiff based upon his knowledge to date. Plaintiff anticipates that his continuing discovery
4    and investigation may reveal information not presently known to Plaintiff, or information whose
5    significance is not presently known to him, upon which Plaintiff may rely at trial. Accordingly,
6    Plaintiff’s responses to these Interrogatories is made without prejudice to Plaintiff’s right to produce
7    additional information at a later date and to introduce such information at the time of trial.
8           3      Plaintiff objects to each Interrogatory to the extent that it seeks information protected
9    from disclosure by the attorney-client privilege and/or the attorney work product doctrine and/or any
10   other privilege or immunity. The inadvertent production of such information shall neither constitute
11   waiver of any privilege nor a waiver of any rights. Plaintiff may have to object to the use of any of the
12   information in any subsequent pretrial proceedings or at trial.
13          4      Plaintiff objects to each Interrogatory to the extent that it is overbroad and that it seeks
14   the production of information which is neither relevant to the subject matter of this litigation nor
15   reasonably calculated to lead to the discovery of admissible evidence.
16          5      Plaintiff objects to each Interrogatory to the extent that it is vague and ambiguous and/or
17   creates confusion given the issues involved in this litigation.
18          6      Plaintiff objects to each Interrogatory to the extent that it is burdensome and oppressive
19   and that compliance with specific requests would be unreasonably difficult and/or expensive.
20          7      Plaintiff objects to the entire set of Interrogatories to the extent that it seeks information
21   equally available to the propounding party.
22          8      Subject to these general objections and the specific objections below, Plaintiff will
23   provide responses indicated below in accordance with its obligations under the Federal Code of Civil
24   Procedure.
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                    PLAINTIFF DS’S RESPONSES TO CIGNA HEALTH & LIFE INSURANCE CO.
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1    REQUEST NO. 8
2           All Documents related to Communications between Plaintiff, on one hand, and any third
3    party, on the other hand, regarding MultiPlan, the Cigna Plan, or Plaintiff’s out-of-network plan
4    benefits.
5    RESPONSE TO REQUEST NO. 8:
6           Plaintiff objects that the Request seeks information from third parties and information not
7    within Plaintiff’s possession, custody, control, or personal knowledge. Plaintiff objects that the
8    Request is unduly burdensome in that it seeks information already known to and in the possession
9    of the requesting party. Plaintiff further objects to this Request to the extent it is overbroad and
10   to the extent that it seeks the production of information which is neither relevant to the subject
11   matter of this litigation nor reasonably calculated to lead to the discovery of admissible evidence.
12   Plaintiff further objects to this Request to the extent it is duplicative of previous requests.
13          Subject to the foregoing and the above incorporated General Objections and without
14   waiving same, Plaintiff responds:
15          Attached are the following responsive, non-privileged documents in Plaintiff’s possession
16   custody or control:
17          PRJ_000289                            PRA
18          PRJ_000290 – PRJ_000295               EOB
19          PRJ_000297 – PRJ_000302               EOB
20          PRJ_000316 – PRJ_000319               EOB
21          PRJ_000320 – PRJ_000323               EOB
22          PRJ_000324 – PRJ_000325               PRA
23          PRJ_000326 – PRJ_000327               PRA
24          PRJ_000364 – PRJ_000369               Correspondence from Defendant
25          Plaintiff will produce all responsive, non-privileged documents in Plaintiff’s possession,
26   custody or control.
27          Discovery is ongoing, and Plaintiff reserves the right to supplement this response as new
28   and relevant information becomes available and known.
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                  PLAINTIFF DS’S RESPONSES TO CIGNA HEALTH & LIFE INSURANCE CO.
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1           PRJ_000043 – PRJ_000069              Correspondence from Defendants
2           PRJ_000070                           Appeal submitted to Defendant
3           PRJ_000071 – PRJ_000081              Electronic PRAs
4           PRJ_000082 – PRJ_000083              Electronic PRAs
5           PRJ_000084 – PRJ_000086              Contemporary notes of telephone conversations
6           PRJ_000087                           Insurance card
7           PRJ_000088 – PRJ_000095              Correspondence with Defendant
8           PRJ_000096 – PRJ_000157              Intuit SPD
9           PRJ_000158 – PRJ_000230              Intuit Certificate of Insurance
10          PRJ_000231 – PRJ_000288              EOBs Received by Plaintiff
11          Plaintiff will produce all responsive, non-privileged documents in Plaintiff’s possession,
12   custody or control.
13          Discovery is ongoing, and Plaintiff reserves the right to supplement this response as new
14   and relevant information becomes available and known.
15   REQUEST NO. 12:
16          All Documents and Communications relating to Plaintiff’s allegations in the Complaint,
17   including the allegations that:
18          a. “Cigna was required to pay for Plaintiffs’ treatment based on the usual,
19          customary, and reasonable rate” as alleged in paragraph 64 of the
20          Complaint.
21          b. “[T]he Plaintiffs UCR rate is equal to 100% of that providers’ billed
22          charges” as alleged in paragraph 164 of the Complaint.
23          c. “Each of the claims at issue in this litigation was underpaid” as alleged
24          in paragraph 13 of the Complaint.
25          d. “Cigna and MultiPlan created, developed, managed, and administered
26          the scheme to underpay” Plaintiffs as alleged in paragraph 11 of the
27          Complaint.
28          a. Cigna’s “payments were improper underpayments” as alleged in page
                                               16
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1           72 of the Complaint.
2           b. “Cigna profits by fraudulently retaining money that should be paid for
3           IOP treatment” and “MultiPlan profits when Cigna pays it for
4           successfully implementing Viant’s fraudulent methodology” as alleged
5           in paragraphs 142-146 of the Complaint.
6           c. “Cigna and MultiPlan then engaged in financial transactions with those
7           proceeds, [and] their actions constituted money-laundering” as alleged
8           in paragraph 18 of the Complaint.
9    RESPONSE TO REQUEST NO. 12:
10          Plaintiff objects that the Request seeks information from third parties and information not
11   within Plaintiff’s possession, custody, control, or personal knowledge. Plaintiff objects that the
12   Request is unduly burdensome in that it seeks information already known to and in the possession
13   of the requesting party. Plaintiff further objects to this Request to the extent it is overbroad and
14   to the extent that it seeks the production of information which is neither relevant to the subject
15   matter of this litigation nor reasonably calculated to lead to the discovery of admissible evidence.
16   Plaintiff further objects to this Request to the extent it is duplicative of previous requests.
17          Subject to the foregoing and the above incorporated General Objections and without
18   waiving same, Plaintiff responds:
19          Attached are the following responsive, non-privileged documents in Plaintiff’s possession
20   custody or control:
21          PRJ_000289                            PRA
22          PRJ_000290 – PRJ_000295               EOB
23          PRJ_000296                            UB-04 Form
24          PRJ_000297 – PRJ_000302               EOB
25          PRJ_000303                            UB-04 Form
26          PRJ_000304                            UB-04 Form
27          PRJ_000305                            UB-04 Form
28          PRJ_000306                            UB-04 Form
                                                17
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1           PRJ_000307                            UB-04 Form
2           PRJ_000308                            UB-04 Form
3           PRJ_000309                            UB-04 Form
4           PRJ_000310                            UB-04 Form
5           PRJ_000311                            UB-04 Form
6           PRJ_000312                            UB-04 Form
7           PRJ_000313                            UB-04 Form
8           PRJ_000314                            UB-04 Form
9           PRJ_000315                            UB-04 Form
10          PRJ_000316 – PRJ_000319               EOB
11          PRJ_000320 – PRJ_000323               EOB
12          PRJ_000324 – PRJ_000325               PRA
13          PRJ_000326 – PRJ_000327               PRA
14          PRJ_000328 – PRJ_000363               Impossible Foods 2019 Benefits Guide
15          PRJ_000364 – PRJ_000369               Correspondence from Defendant
16          Plaintiff will produce all responsive, non-privileged documents in Plaintiff’s possession,
17   custody or control.
18          Discovery is ongoing, and Plaintiff reserves the right to supplement this response as new
19   and relevant information becomes available and known.
20   REQUEST NO. 13
21          All Documents and Communications relating to Plaintiff’s use or access of the FAIR Health
22   database or FAIR Health website (referenced in paragraph 72 of the Complaint).
23   RESPONSE TO REQUEST NO. 13:
24          Plaintiff objects that the Request is unduly burdensome in that it seeks information already
25   known to and in the possession of the requesting party. Plaintiff further objects to this Request to
26   the extent it is overbroad and to the extent that it seeks the production of information which is
27   neither relevant to the subject matter of this litigation nor reasonably calculated to lead to the
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                 PLAINTIFF DS’S RESPONSES TO CIGNA HEALTH & LIFE INSURANCE CO.
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1            Plaintiff objects that the Request is unduly burdensome in that it seeks information already
2    known to and in the possession of the requesting party. Plaintiff further objects to this Request to
3    the extent it is overbroad. Plaintiff further objects to this Request to the extent it is duplicative of
4    previous requests.
5            Subject to the foregoing and without waiving same, Plaintiff responds:
6            Plaintiff has not yet made any determinations as to testifying experts.
7            Plaintiff will produce all responsive, non-privileged documents in Plaintiff’s possession,
8    custody or control.
9            Discovery is ongoing, and Plaintiff reserves the right to supplement his response as new
10   and relevant information becomes available and known.
11   REQUEST NO. 17:
12           All Documents concerning or reflecting any Communications with any individual whom
13   Plaintiff intends to call to testify at trial.
14   RESPONSE TO REQUEST NO. 17:
15           Plaintiff objects that the Request is unduly burdensome in that it seeks information already
16   known to and in the possession of the requesting party. Plaintiff further objects to this Request to
17   the extent it is overbroad. Plaintiff further objects to this Request to the extent it is duplicative of
18   previous requests.
19           Subject to the foregoing and without waiving same, Plaintiff responds:
20           Plaintiff has not yet made any determinations as to testifying witnesses.
21           Plaintiff will produce all responsive, non-privileged documents in Plaintiff’s possession,
22   custody or control.
23           Discovery is ongoing, and Plaintiff reserves the right to supplement his response as new
24   and relevant information becomes available and known.
25   REQUEST NO. 18
26           To the extent not requested above, all Documents upon which Plaintiff intends to rely upon to
27   support Plaintiff’s allegations regarding the Claims, including any Documents identified in Plaintiff’s
28   Initial Disclosures and any Documents to be introduced as exhibits at trial.
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                   PLAINTIFF DS’S RESPONSES TO CIGNA HEALTH & LIFE INSURANCE CO.
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1    RESPONSE TO REQUEST NO. 18:
2           Plaintiff objects that the Request is unduly burdensome in that it seeks information already
3    known to and in the possession of the requesting party. Plaintiff further objects to this Request to
4    the extent it is overbroad. Plaintiff further objects to this Request to the extent it is duplicative of
5    previous requests.
6           Subject to the foregoing and without waiving same, Plaintiff responds:
7           Plaintiff has not yet made any determinations as to trial exhibits.
8           Plaintiff will produce all responsive, non-privileged documents in Plaintiff’s possession,
9    custody or control.
10          Discovery is ongoing, and Plaintiff reserves the right to supplement his response as new
11   and relevant information becomes available and known.
12
      Dated: September 13, 2021                           ARNALL GOLDEN GREGORY LLP
13

14                                                        /S/
                                                    By:         MATTHEW M. LAVIN
15                                                              AARON R. MODIANO
16
                                                          Counsel For Plaintiffs and the Putative
17                                                        Class

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                 PLAINTIFF DS’S RESPONSES TO CIGNA HEALTH & LIFE INSURANCE CO.
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